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15   NALCO COMPANY
16

17                                    UNITED STATES DISTRICT COURT

18                                 NORTHERN DISTRICT OF CALIFORNIA

19

20   NALCO COMPANY,                                           Case No.   3:13-cv-02727 NC

21                             Plaintiff,                     STIPULATION AND
                                                              [PROPOSED] ORDER
22           v.                                               REGARDING DISMISSAL

23   TURNER DESIGNS, INC.,                                    Magistrate Judge Nathanael Cousins

24                             Defendant.

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28
      Stipulation and [Proposed] Order Regarding Dismissal
      Case No. C3:13-cv-02727-NC
     pa-1667740
        Case 3:13-cv-02727-NC Document 146 Filed 11/20/14 Page 2 of 3



 1           IT IS HEREBY STIPULATED by and between plaintiff NALCO COMPANY and
 2   defendant TURNER DESIGNS, INC., by and through their respective attorneys of record herein,
 3   that the parties have resolved this matter in its entirety.
 4           IT IS THEREFORE FURTHER STIPULATED AND AGREED that this entire action be
 5   dismissed with prejudice, each party to bear its own attorneys’ fees and costs.
 6   Dated: October 30, 2014                                 MORRISON & FOERSTER LLP
 7

 8
                                                             By: /s/ Bryan Wilson
 9                                                               Bryan Wilson
10                                                                 Attorneys for Plaintiff NALCO
                                                                   COMPANY
11
     Dated: October 30, 2014                                 FEINBERG DAY ALBERTI & THOMPSON
12
                                                             LLP
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14
                                                             By: /s/ Ian Feinberg
15                                                               IAN FEINBERG
16                                                                 Attorneys for Defendant TURNER
                                                                   DESIGNS, INC.
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20                                          FILER’S ATTESTATION
21           Pursuant to L.R. 5.1(i)(3), the undersigned attests that all parties have concurred in the
22   filing of this Stipulation and [Proposed] Order Regarding Dismissal.
23

24   Dated: October 30, 2014
                                                       By:    /s/ Bryan Wilson
25                                                            BRYAN WILSON

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      Stipulation and [Proposed] Order Regarding Dismissal
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      Case No. 3:13-cv-02727-NC
     pa-1667740
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 1                                                     ORDER
                                                                              ISTRIC
 2           IT IS SO ORDERED.                                           TES D      TC
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 4             November 20, 2014
     Dated: _____________________                                              NTED Cousins
                                                              ____________________________________
                                                                          GRANathanael
                                                              Magistrate Judge




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                                                                                          M. Cousin
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      Stipulation and [Proposed] Order Regarding Dismissal
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      Case No. 3:13-cv-02727-NC
     pa-1667740
